  Case 7:18-cv-00263-GEC Document 14 Filed 02/01/19 Page 1 of 2 Pageid#: 35
                                                                  CLERK'
                                                                       S OFFICE U.S.DIST.COURT
                                                                         AT ROANOKE,VA
                                                                              FILED

                                                                         8E6 - 1 2219
                       IN TH E UM TED STATES DISTRICT COURT
                      FO R TH E W E STERN D ISTR ICT O F W R G IN IA JULB .DUDLEM CLERK
                                     R oanoke D ivision            BX
                                                                          DEPUTY L K


TH OM AS BEST,JR.,

               Plaintiff,

V.                                               CivilAction No.:7:18-:v-263

W RGIM A TRUCK CENTER ,INC.
d/b/a ExcelTruck G roup,

               D efendant.


                              AG R EED DISM ISSM ZO R DER
     .
         On thisday cnm etheparties,by counsel,and representedto theCourtthatthism atterhas

been settled agreed,asisevidenced by theendorsem entsofcounselon thisorder.

         Upon consideration ofwhich,and itappearing properto do so,itishereby

         ORDERED,ADJUDGED and DECREED that this m atter be DISM ISSED as to a1l

partieswith prejudice,and thateach party shallbe responsible fortheirown attorney'sfees,
expenses,and costsrelated tothisaction.

         IT IS SO ORDERED .
                                                                  y

                                           SeniorUnited StatesDistdctJudge

Februm.
      y l++ , 2019
Roanoke,V irginia
    Case 7:18-cv-00263-GEC Document 14 Filed 02/01/19 Page 2 of 2 Pageid#: 36




W E ASK FO R TH IS:


/s/M ark H.Sclunidt
M ark H.Schmidt,Esq.(VSB #44521)
Attom ey atLaw
41W elford Lane
N ew portN ew s,VA 23606
Telephone:(804)525-0826
Email:markllelueysclmAidtt/r ail.com
BenjaminS.Tyree,Esq.(VSB # 82745)
Coatesand Davenpolt P.C.
5206 M arkelRoad,Suite200
Richm'opd,Virginia23230
Telephohle:(804)285-7000
Facsinse':(804)285-2849
Email:bl
       '
       .tyree@coateslam com
         l
Attornqs
       1forthePlaintW
       l
       l
       t

l
/s
 u/s
   lt
    uin
      stE
        inl
        .
          E.mmo
          siSimmonEs
               ns,sq.(vsB #77319)
      ! ers,PLC
W oodsRog
P.O.Boi'14125
Roanoke,Virginia24038-4125
'


Telephone:(540)983-7600
Facsimile:(540)983-7711
jsimmons@woodsrogers.com
AttorneyfortheDqfendant




                                        2
